Case 2:17-cv-12356-JMV-JBC Document 8 Filed 01/17/18 Page 1 of 2 PageID: 1153




                           IN THE UNITED STATES DISTRICT COURT
                                           FOR
                                THE DISTRICT OF NEW JERSEY


   YUDELKA REYNOSO, et at,, on
   behalf of themselves and all other Class                   Civ. Acflon No. 217-CV-12356-
   Members similarly situated,                                JMV-JBC

                           Plaintiffs,                        JURY TRIAL DEMANDED

                                V.
                                                              Stipulated Order
   NEW JERSEY TURNPIKE
   AUTHORiTY, et al.

                      Defendants.




         It is on this I    I   day of    ]c             2018 ORDERED as follows;

             This action, Civil Action No. 2:17-C-l2356-JMV-J3C is STAYED pending a decision

   (the “Decisions’) in James Long and Etoiner Walker v. New Jersey Turnpike Authority, Case No

   A-001557-17T4 (N.J. Super. App. Div.).

             This stay shall terminate aoma when the Decision is final and any appeals

   therefrom have been decided or the time to appeal has expired (the Termination Date”).

             Within 14 days of the Termination Date, Counsel for Plaintiffs and Defendants in this

   action shall meet and confer regarding a schedule for this action and shall submit a joint status

   report with the Court that includes a proposed schedule,

              IT IS FURTHER ORDERED that a copy of this Order shall be served upon alt parties

   within seven (7) days of its entry upon the docket.

              ‘   41J                    1LLJ   ,O              11    1Q


   0015 1573,v4
Case 2:17-cv-12356-JMV-JBC Document 8 Filed 01/17/18 Page 2 of 2 PageID: 1154

    V tL t                                   I- (1       oL€Ld o
        -14 w                                    -




                                                     BY THE COURT



                                                     Hon.c’         -




   We hereby consent to the form
   and entry of this Stipulated Order:




  .\latthew Faranck )i ilncIi Esq.
  Royer Cooper (‘hn Braunfeld LLC
  Attorneys for Plaintiffs


   Dated:                 /
                              /
                                    /

            %         /           4/!/       /
        /   4     t           ‘1’        / /
                                         -   —
   Rottiki L. Israel, ksq
   Chiesa Shahinian & Giantomasi PC
   \UnrnLvs kr Delendants
                          ‘
   Ducd:                      /   /(4I /
                                  t




   00451 573.v4
